         Case 1:21-cr-00129-ABJ Document 119 Filed 05/05/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                :
                                        :             Case No. 21-CR-129 (ABJ)
             v.                         :
                                        :
GABRIEL AUGUSTIN GARCIA,                :
also known as “Gabriel Agustin Garcia,” :
                                        :
                   Defendant.           :

                   GOVERNMENT’S RESPONSE TO COURT’S ORDER

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully submits this response to the Court’s May 2, 2023 Minute Order. The

Court ordered the government to “docket as a supplemental exhibit the relevant portion of the

podcast (or transcript) with defendant’s statements that it referred to at the March 20, 2023 hearing

on defendant’s pretrial violation.”

       The referenced podcast is 3 hours, 23 minutes, and 34 seconds in length. Undersigned

counsel clipped the relevant portion of the podcast, which is less than six minutes in length. The

relevant portion of the clipped version has been provided to Chambers and counsel for the

defendant, and the government is prepared to provide the full podcast at the Court’s or the

defendant’s request.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar Number 481052

                                      By:     /s/ Ashley Akers
                                              ASHLEY AKERS
                                              MO Bar #69601
                                              Trial Attorney

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Case 1:21-cr-00129-ABJ Document 119 Filed 05/05/23 Page 2 of 2




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